Case 1:19-cv-00578-JMS-RT Document 92-21 Filed 05/28/21 Page 1 of 2 PagelD.848

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID CIVIL NO. 19-00578 JMS-RT
KIKUKAWA,

CERTIFICATE OF SERVICE
Plaintiffs,

Vs.
CLARE E. CONNORS, in her
Official Capacity as the Attorney

General of the State of Hawaii,

Defendant.

CERTIFICATE OF SERVICE

I hereby certify that on the date indicated below, a copy of the foregoing
document was filed electronically and served through CM/ECF on the following at

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Case 1:19-cv-00578-JMS-RT Document 92-21 Filed 05/28/21 Page 2 of 2 PagelD.849

DATED: Honolulu, Hawaii, May 28, 2021.
STATE OF HAWAII

CLARE E. CONNORS
Attorney General
State of Hawaii

/s/ Kendall J. Moser
KENDALL J. MOSER
Deputy Attorney General

Attorney for Defendant

CLARE E. CONNORS, in her
Official Capacity as the Attorney
General of the State of Hawaii
